     Case: 4:13-cv-00378-HEA Doc. #: 10 Filed: 06/25/13 Page: 1 of 1 PageID #: 62



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

BENJAMIN AND BRANDI AKERS,                    )
                                              )
         Plaintiffs,                          )
                                              )
v.                                            ) Case No. 4:13-cv-378HEA
                                              )
MEDICREDIT, INC.                              )
                                              )
         Defendant.                           )



               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs Benjamin and Brandi

Akers, and Defendant Medicredit, Inc. jointly stipulate to the dismissal of all

claims against Defendant with prejudice, each party to bear her/its own costs.

Dated: June 25, 2013.

                                        EASON & VOYTAS, LLC

                                        s/ James W. Eason
                                        ______________________________
                                        JAMES W. EASON, #MO57112
                                        RICHARD A. VOYTAS, #MO52046
                                        Eason & Voytas, LLC
                                        One North Taylor Avenue
                                        Saint Louis, Missouri 63108
                                        Phone: (314) 932-1066

                                        s/ Scott Dickinson
                                        ______________________________
                                        Scott J. Dickinson
                                        7701 Forsyth Blvd., Suite 500
                                        Clayton, MO 63105
                                        Telephone: 314-613-2800
